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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 SHANIKA DAY Individually, and as the                  )
 Administrator for the Estate of TERRELL DAY,          )
 HARVEY MORGAN Individually,                           )
                                                       )
                               Plaintiffs,             )
                                                       )
                          v.                           )       No. 1:17-cv-04612-TWP-TAB
                                                       )
 THE CITY OF INDIANAPOLIS, et al.,                     )
                                                       )
                               Defendants.             )

                     ORDER ON TELEPHONIC STATUS CONFERENCE

        Parties appeared by counsel for a telephonic status conference on September 20, 2018,

 regarding a discovery dispute. Plaintiffs seek to depose Indianapolis Metropolitan Police

 Department Chief Bryan Roach. Plaintiffs argue that, though IMPD General Order 8.1 requires

 transporting prisoners by ambulance to the hospital, the policy in practice is to try to get

 prisoners to sign a waiver and decline going to the hospital. Plaintiffs argue they need to depose

 Chief Roach because only the chief can set official IMPD policy. Defendant City of Indianapolis

 objects, arguing that deposing Chief Roach is disproportionate to the needs of the case and

 unnecessary under the apex doctrine.

        Plaintiffs fail to meet their burden under the apex doctrine. The apex doctrine requires

 that, before taking the deposition of a high-level decision maker who is removed from the daily

 subjects at issue, the requesting party must demonstrate that the official has unique personal

 knowledge of the relevant facts. See Gumwood HP Shopping Partners L.P. v. Simon Prop.

 Group, Inc., 3:11-cv-268-JD-CAN, 2015 WL 13664418, at *4 (N.D. Ind. July 7, 2015). As an

 initial matter, Chief Roach was not the chief when the incident occurred, which greatly reduces
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 the possibility Chief Roach has unique personal knowledge of the policy at the time of the

 incident. Plaintiffs offer to limit the deposition to 30 minutes in Chief Roach’s office. While

 this concession would minimize the burden of such a deposition under the proportionality

 analysis, it does not justify it. Plaintiffs can obtain the answers they seek through interrogatories,

 written deposition questions, or requests for admissions. Further, the City offered to make

 available others who can testify about the policy: Assistant Chief of Administration Sarah Tuttle,

 who oversees the General Orders, or Sergeant Mike Daley, the legal advisor for both IMPD and

 IMPD’s training academy.

        For these reasons, Chief Roach’s deposition is unnecessary, and the Court declines to

 compel the City to make Chief Roach available for a deposition at this time.

        Date: 9/24/2018




                                                 _______________________________
                                                  Tim A. Baker
                                                  United States Magistrate Judge
                                                  Southern District of Indiana




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 Distribution:

 Faith Elizabeth Alvarez
 LEE COSSEL & CROWLEY LLP
 falvarez@nleelaw.com

 Darren Craig Chadd
 KIRTLEY TAYLOR SIMS CHADD & MINNETTE
 dchadd@tcmsclaw.com

 David A. Izzo
 SELECTIVE STAFF COUNSEL OF INDIANA
 david.izzo@selective.com

 Nathaniel Lee
 LEE COSSEL & CROWLEY LLP
 nlee@nleelaw.com

 Andrew J. Upchurch
 OFFICE OF CORPORATION COUNSEL
 andrew.upchurch@indy.gov

 Adam Scott Willfond
 OFFICE OF CORPORATION COUNSEL
 adam.willfond@indy.gov




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